      Case 4:19-cv-00653-A Document 19 Filed 08/20/19   Page 1 of 2U.S.PageID
                                                                        DISTRICT77
                                                                                 COURT
                                                               NORTIIERN DISTRICT OF TllXAS
                                                                        FILED
                   IN THE UNITED STATES DISTRICT CO RT
                        NORTHERN DISTRICT OF TEXAS                   AUG 2 0
                           FORT WORTH DIVISION
                                                                CLERK, U.S. DISTRICT COURT
                                                                  ~~~----r,::=--­
ELIDA PARISH,                          §                                bi!IJ!Ity
                                       §
             Plaintiff,                §
                                       §
vs.                                    §     NO. 4:19-CV-653-A
                                       §
AMERICAN AIRLINES, INC.,               §
                                       §
             Defendant.                §


                                     ORDER

       This action has been transferred from the United States

District Court for the Eastern District of Tennessee. Prior to

transfer, the court denied all outstanding motions as moot.

Ordinarily, following denial of a motion to dismiss, the

defendant would have fourteen days in which to file an answer.

Fed. R. Civ. P. 12(a) (4). However, in this case, the court did

not address the merits of the motion as to the existence of

subject matter jurisdiction or the sufficiency of pleading, but

rather acceded to the agreement of the parties to transfer the

action. Inasmuch as there may be a question as to whether

plaintiff, Elida Parish, has stated a cognizable claim over which

the court has jurisdiction, the court is granting defendant,

American Airlines,      Inc., leave to refile its motion to dismiss to

address those issues. The court is not granting defendant leave

to raise any defenses that should have been but were not raised

by its prior motion.
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     The court ORDERS that defendant be, and is hereby granted

leave to file by September 3, 2019, a further motion to dismiss

in accordance with this order.

     SIGNED August 20, 2019.




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